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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

MERLIN KAUFFMAN,
an individual,

            Plaintiff,

v.                                             CASE NO. 3:20-cv-17-MMH-JBT

TRANS HIGH CORPORATION,
etc., et al.,

            Defendants.
                                     /

                         ORDER SETTING VIDEO HEARING

      THIS CAUSE is before the Court on all currently pending motions

(“Motions”) (Docs. 65, 76, 77, 81, 85, & 88) and the Court’s Order to Show Cause

(“OTSC”) (Doc. 64). Upon review, the Court finds that a hearing on the Motions

and OTSC is appropriate. In addition to Counsel, Defendants are required to have

a corporate representative or representatives present by video.

      Accordingly, it is ORDERED:

      1.    A forty-five-minute hearing on the Motions is hereby scheduled to take

place before the Court on November 4, 2021 at 10:00 a.m. The hearing will be

conducted by video teleconferencing using Zoom. The Courtroom Deputy will

separately send participants the link. Information on how others can observe the

proceeding can be found on the Court's website, www.flmd.uscourts.gov.

Participants and observers should dress in appropriate attire and appear in front
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of an appropriate professional background. Recording, broadcasting, transmitting,

or photographing any part of the proceedings is strictly prohibited. See Local Rule

5.01.

        2.   If counsel for either party, or Defendants’ corporate representative(s),

cannot appear on this date and time because of an irreconcilable scheduling

conflict, on or before October 15, 2021, the parties shall file a joint notice of

availability stating two mutually convenient times, between 10:00 a.m. and 4:00

p.m., on different days, if possible, from November 1, 2021, through November 10,

2021, excluding November 5 and the weekend, at which they are available. If no

notice is filed, the Court will assume no party has a scheduling conflict.

        3.   If any Motion is resolved prior to the hearing, Counsel should notify

the Court immediately. The parties are encouraged to continue to attempt to

resolve all Motions and related matters.

        DONE AND ORDERED in Jacksonville, Florida, on October 6, 2021.




Copies to:

Counsel of Record




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